                                Case 23-01239-MAM        Doc 7   Filed 12/13/23    Page 1 of 6




                 ORDERED in the Southern District of Florida on December 13, 2023.




                                                                  Mindy A. Mora, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov

  In re:

  Name of Debtor(s): Robert Allen Gibson                                  Case Number: 23-16430-MAM


  -----------------------------------------------/

  Kelly Landers

  Plaintiff(s)

  VS.                                                                    Adversary Number: 23-01239-MAM

  Robert Gibson

  Defendant(s)
  ----------------------------------------------/

                              ORDER SETTING SCHEDULING CONFERENCE AND
                               ESTABLISHING PROCEDURES AND DEADLINES
           To secure the just, speedy, and inexpensive determination of this adversary proceeding, it is

  ORDERED as follows:

        1.       SCHEDULING CONFERENCE. Consistent with Fed. R. Civ. P. 16, made applicable here by
                 Fed. R. Bankr. P. 7016, the Court will conduct a scheduling conference at:

                 Date: December 19, 2023

                 Time: 10:00 AM
                  Case 23-01239-MAM         Doc 7   Filed 12/13/23   Page 2 of 6


     Location: Video Conference by Zoom for Government

     The parties may not introduce testimony or documentary evidence at the scheduling conference.
     The Court may, however, consider relevant undisputed facts, judicial notice items, and
     admissions made during the scheduling conference by parties either directly or through counsel.

2.   OBJECTION TO ENTRY OF FINAL ORDERS AND JUDGMENTS BY THE BANKRUPTCY
     COURT; CONSENT. Unless otherwise ordered by the Court, not later than 4:00 p.m. two
     business days before the scheduling conference, each party objecting to the entry of final
     orders or judgments by this Court on any issue in this proceeding must file with this Court a
     motion pursuant to Rule 7016(b), Fed. R. Bankr. P., requesting that this Court determine whether
     this proceeding is subject to the entry of final orders or judgments by this Court. Any such motion
     will be treated as an objection to the entry of final orders or judgments by this Court. FAILURE
     OF ANY PARTY TO FILE A MOTION ON OR BEFORE THE DEADLINE PROVIDED IN THIS
     PARAGRAPH CONSTITUTES CONSENT BY SUCH PARTY TO THIS COURT ENTERING
     ALL APPROPRIATE FINAL ORDERS AND JUDGMENTS IN THIS PROCEEDING. Nothing in
     this paragraph limits this Court's ability to determine whether this proceeding is subject to entry
     of final orders or judgments by this Court.

3.   FED. R. BANKR. P. 7026 AND APPLICABILITY OF FED. R. CIV. P. 26. Except as otherwise
     ordered by the Court, Fed. R. Civ. P. 26(d)(1) and 26(d)(2) do not apply to this adversary
     proceeding, and Fed. R. Civ. P. 26(f) applies only to the extent set forth in this Order.

4.   MEETING OF PARTIES. At least 14 days before the scheduling conference, the attorneys for
     the parties (or, if a party is not represented by an attorney, the party) must meet (in person, if
     geographically feasible, and otherwise by video conference or by telephone) to discuss:

        a. the parties' claims and defenses;

        b. the possibility of settlement;

        c. the initial disclosures required by Fed. R. Civ. P. 26(a)(1);

        d. a discovery plan as required by Fed. R. Civ. P. 26(f);

        e. any e-discovery issues in accordance with Local Rule 7026-2; and

         f. proposed dates and deadlines to be set forth in a pretrial scheduling order, including
            dates and deadlines for:

                  (1) making the initial disclosures required by Fed. R. Civ. P. 26(a)(1);

                  (2) completion of discovery;

                  (3) expert disclosures as required by Fed. R. Civ. P. 26(a)(2), and completion of
                      expert discovery (if applicable);

                  (4) filing motions to join additional parties and motions to amend the pleadings;
                                            Page 2 of 6
                       Case 23-01239-MAM         Doc 7    Filed 12/13/23   Page 3 of 6


                        (5) filing motions for judgment on the pleadings, motions for summary judgment,
                            motions in limine, and Fed. R. Evid. 702 motions;

                        (6) conducting mediation;

                       (7) pretrial disclosures as required by Fed. R. Civ. P. 26(a)(3)(A); and

                       (8) a final pretrial conference.

5.        PRETRIAL SCHEDULING ORDER. At the scheduling conference, the parties must announce
          the proposed dates and deadlines as required in paragraph 5.f. above, to be set forth in a
          proposed form of pretrial scheduling order, which will be entered after the conclusion of the
          scheduling conference. Unless otherwise permitted by the Court, the pretrial scheduling order
          must be in substantially the form of this Court's standard form Order Setting Filing and Disclosure
          Requirements for Pretrial and Trial, with the only material variations being the agreed-upon dates
          and deadlines required in paragraph 5.f. above. If the parties fail to agree on a pretrial scheduling
          order by the time of the scheduling conference, the Court will select a date for the pretrial
          conference and enter the Court's standard form of Order Setting Filing and Disclosure
          Requirements for Pretrial and Trial with the default dates and deadlines set forth therein (unless
          the Court determines otherwise).

6.        DISCOVERY DISPUTES. If a discovery dispute occurs, the parties must first, as required by
          Fed. R. Civ. P. 37(a)(1), as incorporated by Fed. R. Bankr. P. 7037, confer in good faith to
          attempt to resolve the issues, before filing a motion with the Court.

     7.   DISPOSITIVE MOTIONS.

             a. FORM REQUIRED FOR DISPOSITIVE MOTIONS. Absent prior permission of the
                Court, no party may file any motion to dismiss, motion for judgment on the pleadings,
                motion for summary judgment, or response thereto, exceeding twenty pages in length,
                and no party may file any reply exceeding ten pages in length. Title pages preceding
                the first page of text, signature pages, and certificates of service are not counted as
                pages for purposes of this paragraph.

                 If a party submits affidavits, declarations, or other materials in support of or in
                 opposition to a motion for summary judgment, then: (A) the movant must serve with the
                 motion all such materials; and (B) the opposing party must serve with the response all
                 such materials in opposition to the motion. Any reply must be strictly limited to rebuttal
                 of matters raised in the response.

                 Absent prior permission of the Court, in connection with any motion for summary
                 judgment no party may file affidavits or declarations that exceed twenty pages in the
                 aggregate.

             b. STATEMENT OF MATERIAL FACTS. A motion for summary judgment and the
                opposition to it must each be accompanied by a separate and contemporaneously filed
                and served Statement of Material Facts. The movant's Statement of Material Facts
                must list the material facts that the movant contends are not genuinely disputed.
                                                 Page 3 of 6
       Case 23-01239-MAM        Doc 7    Filed 12/13/23    Page 4 of 6
  An opponent's statement of Material Facts must clearly challenge any purportedly
  material fact asserted by the movant that the opponent contends is genuinely in dispute.
  An opponent's Statement of Material Facts also may thereafter assert additional material
  facts that the opponent contends serve to defeat the motion for summary judgment.

  The movant must respond to any additional facts asserted in the opponent's Statement
  of Material Facts even if the movant does not serve a reply memorandum. The due date
  for the Reply Statement of Material Facts is the due date for the reply memorandum.


c. FORM REQUIRED FOR STATEMENTS OF MATERIAL FACTS.

  All Statements of Material Facts.

  All Statements of Material Facts (whether filed by the movant or the opponent) must be
  filed and served as separate documents and not as exhibits or attachments. In addition,
  the Statements of Material Facts must:

       (1) Not exceed ten pages;

       (2) Consist of separately numbered paragraphs, limited as far as practicable to a
           single material fact, with each fact supported by specific, pinpoint citations to
           particular parts of record material, including depositions, documents,
           electronically stored information, affidavits, stipulations (including those made
           for purposes of the motion only), admissions (including admissions in the
           answer), and interrogatory answers (e.g., Exhibit D, Smith Affidavit, 2; Exhibit
           3, Jones deposition, p. 12/lines 4-9).

            The pinpoint citations must reference pages (and line numbers, if
            appropriate) of exhibits, designate the number and title of each exhibit, and
            provide the ECF number of all previously filed materials used to support the
            Statement of Material Facts. When a material fact requires specific
            evidentiary support, a general citation to an exhibit without a page number or
            pinpoint citation (e.g., "Smith Affidavit" or "Jones Deposition" or "Exhibit A") is
            non-compliant. If not already in the record on CM/ECF, the materials must be
            attached to the statement as exhibits specifically titled within the CM/ECF
            system (e.g., Smith Affidavit dated April 12, 2017, Jones Deposition dated
            May 19, 2018). Reference to a previously filed exhibit must use the "ECF
            No." format.

  Opponent's Statement of Material Facts.

       (1) In addition to the foregoing requirements, an opponent's Statement of
           Material Facts must correspond with the order and paragraph numbering
           format used by the movant, but it must not repeat the text of the movant's
           paragraphs.

       (2) An opponent's Statement of Material Facts must use, as the very first word in
           each paragraph-by-paragraph response, the word "disputed" or "undisputed."
                                Page 4 of 6
         Case 23-01239-MAM       Doc 7    Filed 12/13/23   Page 5 of 6


         (3) If an opponent's Statement of Material Facts disputes a fact in the movant's
             Statement of Material Facts, then the evidentiary citations supporting the
             opponent's position must be limited to evidence specific to that particular
             dispute.

         (4) Any additional facts that an opponent contends are material to the motion for
             summary judgment must be numbered and placed immediately after the
             opponent's response to the movant's Statement of Material Facts. The
             additional facts must use separately numbered paragraphs beginning with
             the next number following the movant's last numbered paragraph. The
             additional facts must be separately titled as "Additional Facts" and may not
             exceed five pages (beyond the ten-page limit for the opponent's Statement of
             Material Facts).


   Reply Statement of Material Facts.

         (1) If an opponent's Statement of Material Facts includes additional facts, then
             the movant must respond to each additional fact in a separately served Reply
             Statement of Material Facts.

         (2) The Reply Statement of Material Facts must correspond with the order and
             paragraph numbering format used in the opponent's additional facts,
             identifying with the very first word in each fact as "disputed" or "undisputed"
             at the beginning of each paragraph in the statement, and, if disputed, citing to
             particular parts of materials in the record in the same manner as described
             above.

         (3) The movant may file and serve a reply memorandum of law, which is
             separate and distinct from the required Reply Statement of Material Facts,
             addressing the opponent's additional facts.

d. EFFECT OF FAILURE TO CONTROVERT UNDISPUTED FACTS. All material facts in
   any party's Statement of Material Facts may be deemed admitted unless controverted by
   the other party's Statement of Material Facts, provided that: (i) the Court finds that the
   material fact at issue is supported by properly cited record evidence; and (ii) any
   exception under Fed. R. Civ. P. 56 does not apply.

e. CONSEQUENCES OF NON-COMPLIANCE. If a party files and serves any Statement of
   Material Facts that does not comply with this Order, then the Court may strike the
   Statement, require immediate compliance, grant relief to any opposing party for any
   prejudice arising from a non-compliant statement or response, or enter other sanctions
   that the Court deems appropriate.

f. PROHIBITION AGAINST MULTIPLE MOTIONS FOR SUMMARY JUDGMENT. Filing
   multiple motions for summary judgment is prohibited, absent prior permission of the
   Court. This prohibition is not triggered when, as permitted by Fed. R. Civ. P. 12(d), the
   Court elects to treat a motion filed pursuant to Fed. R. Civ. P. 12(b)(6) or 12(c), as a
   summary judgment motion.
                                 Page 5 of 6
                        Case 23-01239-MAM         Doc 7    Filed 12/13/23   Page 6 of 6


8.         COMPLIANCE WITH FEDERAL JUDICIARY PRIVACY POLICY. All papers, including exhibits,
           submitted to the Court must comply with the federal judiciary privacy policy as referenced under
           Local Rule 5005-1(A)(2).

9.         MEDIATION. Pursuant to Local Rule 9019-2, the Court may order the assignment of this
           proceeding to mediation at the scheduling conference or at any other time, upon the request of
           a party or sua sponte.

10.        SETTLEMENT. If the adversary proceeding is settled, the parties must submit to the Court a
           stipulation or proposed judgment approved by all parties before the date of trial. If a judgment or
           stipulation is not submitted to the Court, all parties must be prepared to go to trial in accordance
           with the pretrial scheduling order. If the adversary proceeding is removed from the trial calendar
           based upon the announcement of a settlement, the adversary proceeding will not be reset for
           trial if the parties fail to consummate the settlement. In such event, the Court will consider only
           a motion to enforce the settlement, unless the sole reason the settlement is not consummated
           is that the Court did not approve the settlement, in which case the matter will be reset for trial at
           a later date.

11.        DEFAULT. If any defendant fails to answer or otherwise respond to the complaint in a timely
           manner, the plaintiff(s) must promptly seek entry of a clerk's default pursuant to Fed. R. Bankr.
           P. 7055(a), and Local Rule 7055-1, and must promptly move for default judgment. Unless
           judgment has been entered or the Court advises the plaintiff(s) that the scheduling conference
           has been continued or canceled, the plaintiff(s) must appear at the scheduling conference.

12.        SANCTIONS. Failure to comply with any provision of this order or failure to appear at the
           scheduling conference may result in appropriate sanctions, including the award of attorney's
           fees, striking of pleadings, dismissal of the action, or entry of default judgment.

13.        CONTINUANCES. Except for brief continuances sought pursuant to Local Rule 7004-2(B) or to
           accommodate the schedules of counsel (or the parties, if unrepresented), the Court will continue
           the scheduling conference only in extraordinary circumstances. Any request to continue the
           scheduling conference or any deadlines set forth in this order must be presented by written
           motion and must set forth the status of service of process, the pleadings, and the pendency of
           any potentially dispositive motions, and must state the reasons why the party or parties seek a
           continuance.

14.        SERVICE. Plaintiff('s)(s') counsel must serve a copy of this order on the defendant(s) with the
           summons and complaint.

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     A copy of this order was furnished to Kelly Landers on behalf of the Plaintiff on December 13, 2023.
                                                       By: Maria Romaguera-Serfaty
                                                       Deputy Clerk


                                                   Page 6 of 6
